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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :       Case. No. 21-cr-666 (TNM)
                                              :
                                              :       Under Seal
DAVID FLOYD,                                  :
                       Defendant.             :

                            GOVERNMENT’S MEMORANDUM
                         IN SUPPORT OF PRE-TRIAL DETENTION

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this memorandum in support of its request that

defendant David Floyd be detained pending trial pursuant to 18 U.S.C. §§ (f)(1)(B) [Maximum

Sentence Life]; 3142(f)(1)(C) [Serious Drug Felony]; and (f)(1)(D) [Convicted of Two Felony

Drug Offenses].     There is a rebuttable presumption that no conditions or combinations of

conditions can effectively ensure the defendant’s appearance in this case and otherwise protect the

community, pursuant to 18 U.S.C. § 3142(e)(3)(A). The government respectfully requests that

the following points and authorities, as well as any other facts, arguments and authorities presented

at the detention hearing, be considered in the Court’s determination regarding pre-trial detention.

                                       Procedural History

       On November 9, 2021, the defendant was charged by indictment with one count of

conspiring to distribute and possess with intent to distribute 500 grams or more of cocaine,

pursuant to 21 U.S.C. §§ 841(a)(1), 841(b)(1)(B)(ii), and 846, Case No. 21-cr-666 (TNM). The

charged offense carries a mandatory-minimum sentence of five years imprisonment and a

maximum sentence of 40 years imprisonment, however, the defendant appears to have at least two

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felony serious drug convictions and therefore, he faces a sentence of not “less than 10 years and

not more than life imprisonment,” pursuant to 21 U.S.C. § 841(b)(1)(B). The drug conspiracy

spans over 17 months, from June of 2020 to November 10, 2021.

       On November 10, 2021, the defendant was arrested in a residence he stays at with his

companion in Capital Heights, Maryland on an arrest warrant issued out of the United States

District Court for the District of Columbia by Magistrate Judge Robin M. Meriweather, in

connection with the criminal indictment noted above. The defendant made his appearance on

November 10, 2021, before Magistrate Judge Robin M. Meriweather.               The Court held the

defendant pursuant to 18 U.S.C. § 3142(f)(1)(C) because the offense is a serious drug felony.

       Based on the nature and circumstances of the offense, the strength of the evidence, the

defendant’s history and characteristics, and the danger to the community, the government

respectfully requests that the Court hold the defendant without bond pending trial to ensure the

safety of the community, as he cannot overcome the rebuttable presumption in favor of detention.

                             I.      Legal Authority and Argument

       As a preliminary matter, the “rules concerning the admissibility of evidence in criminal

trials do not apply to the presentation and consideration of information at the [detention] hearing.”

18 U.S.C. § 3142(f). Specifically, the presentation of hearsay evidence is permitted. Id.; United

States v. Smith, 79 F.3d 1208, 1210 (D.C. Cir. 1996). Moreover, the government is not required

to “spell out in precise detail how the government will prove its case at trial, nor specify exactly

what sources it will use.” United States v. Martir, 782 F.2d 1141, 1145 (2d Cir. 1986); United

States v. Williams, 798 F. Supp. 34, 36 (D.D.C. 1992). A pretrial detention hearing should not be

used as a discovery device and cross-examination should be limited to the disputed issues, since


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the detention hearing is not to be turned into a mini-trial and is not to be used as a subterfuge to

obtain discovery. Smith, 79 F.3d at 1210, see also Williams, 798 F. Supp. at 36.

       Pursuant to 18 U.S.C. §§ 3142(e)(3)(A), there exists a rebuttable presumption that no

conditions or combinations of conditions can effectively ensure the defendant’s appearance in this

case and otherwise protect the community.         The government must establish by clear and

convincing evidence that a defendant is a danger to the community. United States v. Peralta, 849

F.2d 625, 626 (D.C. Cir. 1988). There are four factors under Section 3142(g) that the Court

should consider and weigh in determining whether to detain a defendant pending trial: (1) the

nature and circumstances of the offense charged; (2) the weight of the evidence against the

defendant; (3) his history and characteristics; and (4) the nature and seriousness of the danger to

any person or the community that would be posed by his release. See 18 U.S.C. § 3142(g). In

consideration of these factors, along with the applicable rebuttable presumption, the government

respectfully submits that there is no condition, or combination of conditions, that would assure the

safety of the community or the defendant’s appearance at future proceedings.

A.     Nature and Circumstances of the Offenses Charged

       Since the beginning of 2021, the Homeland Security Investigations (HSI), the United States

Postal Inspector Service (USPIS), and the Metropolitan Police Department (MPD), have been

conducting a large-scale narcotics, illegal firearms offenses, and money laundering investigation

into a drug trafficking organization (DTO) that was led by the defendant which obtained multi-

kilogram quantities of cocaine from the United States Virgin Islands and other areas, and then

distributing the illegal narcotics in the Washington, D.C. area. Based on the investigation to date,

law enforcement agents have identified at least two kilograms of cocaine that the defendant and


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his brother Bennie Floyd1 obtained in St. Thomas and on January 20, 2021, attempted to mail via

the U.S. Postal Service to Washington, D.C. for later distribution. Law enforcement intercepted

the packages before they arrived at their destination in Washington, D.C.

         Specifically, On January 19, 2021, the defendant and Bennie Floyd flew via commercial

airlines from the Washington, D.C. area to St. Thomas to obtain the kilograms of cocaine. Below

are flight records for the defendant’s travel.

                                                     Exhibit 1




Additionally, the defendant and Bennie Floyd rented an automobile while in the St. Thomas

airport, and then were observed leaving the airport destined for the rental car; the defendant is in

the turquoise shirt and Bennie Floyd is behind the defendant in black clothing in Exhibit 2, below.




1         Bennie Floyd was charged in 21-cr-200 (TNM), pled guilty to conspiring to distribute and possess with intent
to distribute 500 grams or more of cocaine, pursuant to 21 U.S.C. §§ 841(a)(1), 841(b)(1)(B)(ii), and 846, and on
November 1, 2021, was sentenced to 72 months imprisonment by United States District Court Judge for the District
of Columbia Trevor N. McFadden.
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                                             Exhibit 2




   On January 20, 2021, after obtaining the two kilograms of cocaine on St. Thomas, the defendant

   and Bennie Floyd mailed two packages from the St. Thomas post office, to addresses in

   Washington, D.C.

          Exhibit 3                                  Exhibit 4




                                                 5

                                            The defendant driving Bennie Floyd to the St.
                                            Thomas post office to mail the cocaine

Bennie Floyd mailing the cocaine
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The United States Customs and Border Protection intercepted the two packages before they left

the Caribbean; the substances were analyzed by a forensic chemist and determined to be cocaine

HCL, and weighted over two kilograms.

Exhibit 6




                                                               Package 2

     Package 1

       Additionally, through the investigation, law enforcement obtained text messages between

the defendant and his cocaine supplier in St. Thomas, three days before the defendant attempted

to mail the two kilograms of cocaine to Washington, D.C., from St. Thomas. As detailed in the

below text message, the defendant ordered two kilograms of cocaine.




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Exhibit 7

The defendant’s telephone:




St. Thomas cocaine trafficker’s response:




       On October 7, 2021, the Honorable Colleen Kollar-Kotelly, United States District Court

Judge for the District of Columbia authorized the wire and electronic interceptions of

communications from the defendant’s telephone for a 30-day period.              A sampling of

communications are summarized below which establish that even after the two kilograms of

cocaine were seized by law enforcement, the defendant continued to distribute illegal substances.

On October 12, 2021, a drug customer asked the defendant for crack-cocaine:

Drug Customer #1: “You—you bring me rocks? Can you bring me rocks out, please? Need some
more… just more little rocks, now. I’m in the alley…
The defendant: “Yeah, I’ll see you in a little while.”


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On October 14, 2021, another drug customer asked the defendant for crack-cocaine:

Drug Customer #2: “…somebody tryin’ to get a rock though”.
The defendant: “I ain’t gon’ be around for prob’ly about thirty (30), forty-five (45) minute, home
boy.

On October 19, 2021, another drug customer asked the defendant for cocaine, referred to a
“snowflakes”:

Drug Customer #3 “…talking ‘bout snowflakes. Nah, uh-uh you know.”
The defendant: A’ight…”

       During the investigation, law enforcement conducted surveillance of the defendant and

tracked his patterns. Law enforcement never observed the defendant go to a place of employment,

and he appeared to be unemployed. On November 10, 2021, law enforcement executed several

court-approved search warrants in a coordinated manner; one residence at 4719 Heath Street,

Capitol Heights, Maryland, was where the defendant spent his evenings, and two other residences

where he conducted his drug trafficking activities - 1609 Meigs Place, NE, and 3818 W Street, SE,

Unit B. The defendant was arrested in the 4719 Heath Street, Capitol Heights location based on

this Court’s arrest warrant. Evidence of the defendant’s drug trafficking was recovered inside

these residences.

       First, the defendant used 1609 Meigs Place, NE, as a location to distribute illegal narcotics,

is owned by the defendant’s mother, and is an address the defendant listed as his address, see the

Pre-Trial Services Report at 1. Law enforcement observed the defendant travel to this address on

an almost daily basis, and distribute illegal drugs from the residence. During the search of 1609

Meigs Place, law enforcement recovered $1,980 in U.S. Currency, approximately 700 grams of




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marijuana, over 300 grams of Khat2, packaging materials used to distribute illegal narcotics, and

the residence was secured with a security system.

         Second, the residence at 3818 W Street, SE, Unit B, was a residence rented by the defendant

and a location he frequented on an almost daily basis, prior to going to 1609 Meigs Place, NE.

During a search of the W Street location, law enforcement recovered $28,5000 in U.S. currency a

loaded Glock 19, 9mm firearm, a scale for weighing drugs, a money counter, items used to

distribute illegal drugs, and the defendant’s passport and driver’s license. Third, during a search

of the 4719 Heath Street, Capitol Heights, Maryland, law enforcement recovered over $3,000 in

U.S. currency, personal items belonging to the defendant, and the cellular telephone that was the

basis of Judge Kollar-Kotelly’s court-approved wiretap.

         Additionally, the defendant gave a post-arrest and Mirandized interview when he was

arrested on or about November 10, 2021. The defendant admitted to traveling to St. Thomas in

January of 2021, and identified himself in several photographs from video surveillance in St.

Thomas, but minimized his role claiming that Bennie Floyd was the one who planned the drug

transaction in St. Thomas. In short, the nature and circumstances of this offense detailed above,

including the substantial quantity of drugs involved in the conspiracy, the length of the conspiracy,

and the recovery of a substantial amount of drugs, drug proceeds, and a firearm inside one of the

defendant’s residents weigh heavily in favor of detention.

B.       Weight of the Evidence Against the Defendants

         The second factor to be considered, the weight of the evidence, also clearly weighs in favor



2        The chemicals found in Khat are controlled under the Controlled Substances Act. Cathine is a Schedule IV
stimulant, and cathinone is a Schedule I stimulant under the Controlled Substances Act, meaning that it has a high
potential for abuse, no currently accepted medical use in treatment in the United States, and a lack of accepted safety
for use under medical supervision.
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of detention. The evidence against the defendant is overwhelming. As noted above, the defendant

is captured on video with his brother mailing two kilograms of cocaine, there are wiretap

communications where the defendant is discussing distributing illegal drugs, and the recovery of

a substantial amount of drugs, drug proceeds, and a firearm inside one of the defendant’s residents

are compelling and weigh in favor of detention.

C.     Defendants’ History and Characteristics

       The third factor, the history and characteristics of the person, weighs in favor of the

defendants’ detention. According to the report provided by the Pretrial Services Agency (PSA),

the defendant has nine prior convictions. Seven of the prior convictions involve illegal drugs, one

is a firearms conviction, and one prior conviction is for assaultive behavior. The defendant’s first

adult arrest for possession with intent to distribute illegal drugs occurred when he was 18 years

old, the first conviction occurred when he was 20 years old, see PSA report at 5-6. Since his first

arrest, the defendant has been involved in the criminal justice system for the past 20 years, and

based on these convictions is exposed to a potential sentence of a minimum-mandatory sentence

of 10 years imprisonment with a maximum sentence of life imprisonment, pursuant to 21 U.S.C.

§ 841(b)(1)(B) - not “less than 10 years and not more than life imprisonment.”

       Further, a substantial amount of drugs, U.S. currency, and a firearm were recovered from

the defendant’s residences.   Based on the investigation, including the wiretap interceptions, the

defendant had a vibrant and lucrative illegal drug distribution operation and traveled regularly

and on short notice.    The defendant’s apparent willingness to engage in a long-term drug-

trafficking conspiracy with some co-conspirators still in the community should give this Court

great concern about the danger he would pose to the community and the risk of flight if released.


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D.     Danger to the Community

       The fourth factor, the nature and seriousness of the danger to any person or the community

posed by a defendant’s release, also weighs in favor of the defendant’s detention. The charged

offenses involve conspiring to distribute and possess with the intent to distribute more than 500

grams of cocaine. The seriousness of the offense and the danger of the community is shown by

the fact that he is facing a mandatory minimum ten-year sentence and up to life imprisonment for

the seized. The government’s evidence establishes that the defendant had a drug trafficker in the

Caribbean, was assisted by others including his brother Bennie Floyd, and the drug conspiracy

was ongoing at the time of his arrest last week.

       Given the above assessment of all four relevant factors including the defendant’s repeated

violation of criminal laws, no condition, or combination of conditions, can ensure that the

defendant will comply with court orders and abide by appropriate release conditions.

Furthermore, the defendant simply cannot rebut the presumptions applicable in this case in light

of the facts of the instant case and his own history and characteristics.




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                                              Conclusion

       The government respectfully requests that the Court issue an Order granting its motion that

the defendant be held without bond pending trial.

                                                      Respectfully submitted,


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